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UNITED STATES DISTRICT COURT
                                                                               FILED
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                                                                        US DISTRICT COURT E.D.N.Y.
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X       *      SEP 13 2019
UNITED STATES OF AMERICA,.                                                            *
                                                                   DECiiROal<QRDEB=FICE
                 v.                                                15-CR-95-4 (WFK)

DILKHA YOT KASIMOV,

                          Defendant.
---------------------------------------------------------------X
WILLIAM F. KUNTZ, II, United States District Judge:

On August 15, 2019, defendant Dilkhayot Kasimov filed a motion to exclude expert testimony of
Dr. Lorenzo Vidino, or in the alternative, to hold a Daubert hearing. See ECF No. 360 ("Mot.").
The Government opposes Kasimov's request. See ECF No. 376 ("Opp."). For the reasons set
forth below, the Court DENIES Kasimov's motion to preclude Dr. Vidino's expert testimony.

                                              BACKGROUND

        The Court assumes familiarity with the underlying factual allegations in this case.

Briefly, on May 9, 2016, the Government filed a third Superseding Indictment against Dilkhayot

Kasimov ("Defendant") and four other co-defendants. See Superseding Indictment, ECF No.

135. The Superseding Indictment charges Defendant with conspiracy to provide material

support to a foreign terrorist organization, in violation of 18 U.S.C. § 2339B(a)(l), and attempt

to provide material support to a foreign terrorist organization, in violation of 18 U.S.C. §§

2339B(a)(l)--(2). Id ,I,I 1-2.

        On August 9, 2019, the Government provided Defendant with written notice it intends to

call Dr. Lorenzo Vidino as an expert at trial pursuant to Rule 16(a)(l)(G) of the Federal Rules of

Criminal Procedure. See Aug. 9, 2019 Letter ("Notice of Expert"), ECF No. 354. According to

the Government, Dr. Vidino is expected to testify regarding the history, leadership,

infrastructure, and geographic bases of operation and control of the Islamic State of Iraq and al-

Sham ("ISIS") during the relevant time period outlined in the Superseding Indictment, among


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other things. Id. at 1-2. The notice included a copy of Dr. Vidino's curriculum vitae and cqpies

of recent testimony given by Dr. Vidino. Id. at 2. On September 7, 2019, the Government also

provided a supplemental summary of Dr. Vidino's anticipated testimony. See Supplemental

Notice at 2-3, ECF No. 389.

        On August 15, 2019, Defendant filed a motion to exclude Dr. Vidino's testimony. See

generally Mot. Specifically, Defendant contends Dr. Vidino's testimony: (1) is irrelevant to the

issues in the trial; (2) would serve only to inflame the jury; (3) any relevant portions of his

testimony would not be outside the scope of an average juror; and (4) any slight probative value

of the testimony is outweighed by its prejudicial effect. Id. at 2. In response, the Government

argues Dr. Vidino's anticipated testimony meets the requirements set forth in Rule 702 of the

Federal Rules of Evidence because he will present specialized knowledge that will help the jury.

Opp. at 4-11. In the Government's view, a Daubert hearing is also not necessary. Id at 11-12.

                                           DISCUSSION

       Defendant disputes the relevance of the specific categories of Dr. Vidino's anticipated

testimony, as noticed by the Government. See Mot. at 2-5. The Court finds, based on the

Government's notice, the testimony and subjects on which the Government intends to offer Dr.

Vidino as an expert will assist the jury in rendering its verdict and meet the standards as set forth

in Daubert.

               A. Sufficient Rule 16(a)(l)(G) Notice

       Defendant first contends the Government's notice "falls significantly short" of the

requirements set forth in Rule 16(a)(l)(G) of the Federal Rules of Criminal Procedure. Mot. at

3. Rule l 6(a)(l )(G) requires the Government "give to the defendant a written summary of any




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testimony that the government intends to use under Rules 702, 703, or 705 of the Federal Rules

of Evidence during its case-in-chief at trial" at the defendant's request.

       In the Government's initial notice to defense counsel regarding Dr. Vidino's testimony,

the Government elaborated on Dr. Vidino's qualifications, opinions, and the reasons for those

opinions. The Government also provided Dr. Vidino's curriculum vitae, summaries of his past

testimony, and a report he authored as an attachment. Additionally, the Government

supplemented its initial notice with another letter containing a fulsome summary of Dr. Vidino's

anticipated testimony. See Supplemental Notice at 2-3. The Court concludes this satisfies the

notice requirement of Rule 16, and defense counsel has a "fair and adequate opportunity to

challenge" Dr. Vidino's expert testimony at trial. United States v. Vasquez, 258 F.R.D. 68, 74

(E.D.N.Y. 2009) (Spatt, J.).

               B. Admissibility of Dr. Vidino's Expert Testimony

       Defendant next argues in his motion Dr. Vidino's anticipated testimony is not relev~t to

deciding the issues at trial and to assisting the jury in determining whether he did or did not

commit the crimes charged in the Superseding Indictment. Mot. at 4.

       Rule 702 provides for the admission of expert testimony when "scientific, technical, or

other specialized knowledge will assist the trier of fact." Fed. R. Evid. 702. With respect to this

helpfulness requirement, "[ e]xpert witnesses are often uniquely qualified in guiding the trier of

fact through a complicated morass of obscure terms and concepts." United States v. Duncan, 42

F .3d 97, 101 (2d Cir. 1994). As such, the "Rules of Evidence provide a liberal standard for the

admissibility of expert testimony." United States v. Dukagjini, 326 F.3d 45, 52 (2d Cir. 2003).

Indeed, the decision to admit expert testimony is generally sustained unless "manifestly

erroneous." United States v. Tapia-Ortiz, 23 F.3d 738, 740 (2d Cir. 1994) (citation omitted).




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        Expert testimony must also be both relevant and reliable pursuant to Rule 702. See

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,589 (1993); Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147-48 (1999). This reliability requirement "should be understood in

the context of the 'liberal thrust' of the Federal Rules of Evidence, and their 'general approach of

relaxing the traditional barriers to 'opinion' testimony.'" United States v. Diakhoumpa, 171 F.

Supp. 3d 148, 152 (S.D.N.Y. 2016) (Marrero, J.) (quoting Daubert, 509 U.S. at 588). The

Daubert Court provided a list of several, non-exhaustive factors courts should consider in

determining reliability under Rule 702: (1) whether the theory or technique can be tested; (2)

whether it has been subjected to peer review; (3) whether the technique has a high known or

potential rate of error; and (4) whether the theory has attained general acceptance within the

scientific community. Daubert, 509 U.S. at 593-94. In cases involving terrorism-related

offenses, education and professional experience may be sufficient to provide background

information and expert testimony. See, e.g., United States v. Kassir, 04-CR-356, 2009 WL

910767, at *6-7 (S.D.N.Y. Apr. 2, 2009) (Keenan, J.) (listing cases).

        As the Government notes in its opposition to Defendant's motion, Dr. Vidino's

anticipated testimony on ISIS would assist the jury in determining whether Defendant

"knowingly" provided material support or attempted or conspired to do so. See 18 U.S.C. §

2339B. Specifically, the Government must prove Defendant knew either: (1) ISIS had been

designated a foreign terrorist organization by the United States; (2) ISIS engaged in "terrorist

activity"; or (3) ISIS engaged in "terrorism." Id. § 2339B(a)(l ); see also Opp. at 6-7 (listing

statutory examples of terrorist activity and what the Government must prove). Dr. Vidino's

testimony about the history and formation of ISIS during the relevant time period can help the

jury, as the finder of fact, in deciding whether Defendant knew one of these three things.




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        Dr. Vidino's proffered testimony will also include discussion ofthe recruiting practices

of ISIS, which can assist the jury in deciding whether Defendant conspired to or attempted to

provide material support to ISIS in the form of personnel. Id. at 9. Dr. Vidino is also expected

to testify that ISIS recruits frequently traveled to Syria to join ISIS by way of Turkey, at least as

of February 2015. Id. This testimony is relevant to the jury's factfinding as to whether

Defendant knew his co-defendant Saidakhmetov was traveling to join ISIS.

       Contrary to Defendant's arguments, Dr. Vidino's anticipated testimony will not discuss

the specific facts of this case but instead will provide background information for purposes of

assisting the jury. Compare with United States v. Mejia, 545 F.3d 179, 195-96 (2d Cir. 2008)

("The Government cannot take a shortcut around its obligation to prove murder beyond a

reasonable doubt just by having an expert pronounce that unspecified deaths ... have been

homicides committed by members of [a gang with which the defendant was affiliated]."). The

Government cites district court decisions affirmed by the Second Circuit that permitted expert

testimony on background information of terrorist organizations, including their history, structure,

leadership, and methods. See Opp. at 10-11 (citing United States v. Arel, 04-CR-40,.2, 2007 WL

603508, at *16 (N.D.N.Y. Feb. 22, 2007) (McAvoy, J.), aff'd, 285 F. App'x 784, 2008 WL

2663348 (2d Cir. July 2, 2008) (summary order); United v. Paracha, 03-CR-1197, 2006 WL

12768, at *18-22 (S.D.N.Y. Jan. 3, 2006) (Stein, J.), ajf'd, 06-CR-3599, 2008 WL 2477392 (2d

Cir. June 19, 2008) (summary order)).




               C. A Daubert Hearing Is Not Necessary




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       The Court further concludes a Daubert hearing on the relevance and reliability of Dr.

Vidino's testimony is not necessary. "Nothing requires a district court to hold a formal Daubert

hearing in advance of qualifying an expert witness." United States v. Ashburn, 88 F. Supp. 3d

239, 244 (E.D.N.Y. 2015) (Garaufis, J.); see also In re Elec. Books Antitrust Litig., 11-MD-2293,

2014 WL 1282293, at *32 (S.D.N.Y. Mar. 28, 2014) (Cote, J.) ("[N]othing in Daubert, or any

other Supreme Court or Second Circuit case, mandates that the district court hold a Daubert

hearing before ruling on the admissibility of expert testimony ...."). The Government must of

course lay a proper foundation at trial for Dr. Vidino's expert testimony, and defense counsel is

encouraged to "conduct additional questioning of the witness at trial" through cross-examination.

Diakhoumpa, 171 F. Supp. 3d at 152-53.

                                        CONCLUSION

       For the reasons discussed herein, the Court hereby DENIES without prejudice

Defendant's motion to preclude Dr. Vidino's testimony as an expert witness for the Government.



                                                            SO ORDERED.




                                                                             s/WFK



Dated: September 12, 2019
       Brooklyn, New York




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